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UNITED STATES OF AMERICA

¥S.

DAVID GERALD MINKKINEN
and SIVARAMAN SAMBASIVAN,

IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN

DISTRICT OF WEST VIRGINIA

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)
Plaintiff, }
J Case No. 2:22-CR-00163
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Defendants.

DEFENDANT MINKKINEN’S MOTION FOR PERMISSION TO TRAVEL

COMES NOW Defendant Minkkinen and hereby files this Motion for Permission to

Travel, stating as follows:

1.

Defendant David Gerald Minkkinen is a married man. He and his wife have one
child, a daughter who resides with them. His daughter is a senior in high school in
Minnesota and has her approaching graduation and then will be attending college.
His daughter, her friends, and their families have planned a trip to Punta Cana,
Dominican Republic during the week of March 27, 2025, through April 3, 2025.
The family will be flying roundtrip on Delta Airlines.

As a requirement of the Order Setting Conditions of Release entered on
September 15, 2022, the defendant was required to surrender his passport to the
United States Probation Office.

By order entered December 21, 2023, this court previously permitted Defendant
Minkkinen to accompany his wife and daughter on her junior class trip on a cruise
ship to the U.S. Virgin Islands and Puerto Rico without incident. In that order,

because it was a cruise ship rather than a passenger flight, the court allowed

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Defendant Minkkinen to travel outside of the continental United States but did not
allow him to disembark the ship at a foreign port.

4, The Defendant is a lifelong resident of the state of Minnesota and owns a home
there. The defendant has strong family ties to Minnesota. Defendant has never
lived outside of the United States.

5. Defendant is not a flight risk. He has fully complied with all his pre-trial release
requirements and appeared at every required hearing. The defendant abided by all
terms of the previous order allowing foreign travel.

6. In an email request to the U.S. Attorney’s Office regarding its consent for the
Defendant to take this family trip, the government indicated it would oppose such
travel privileges. The government has offered no evidence that Mr. Minkkinen is a
flight risk and no evidence that Mr. Minkkinen poses any danger whatsoever to
the community of committing additional 18 U.S.C. 1001 violations (the only
charges remaining against him).

7. Not only has Defendant Minkkinen been fully compliant with all bond conditions
during the lengthy pendency of this case, he has had the freedom to travel
throughout the continental United States throughout the pendency of his case; had
the freedom and means to travel internationally until the indictment was returned;
and, although he was aware of the investigation and possible pending federal
indictment, he did not flee in the years before his indictment. The government

will be unable to offer any clear rationale for opposing this request.

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WHEREFORE, Defendant David Gerald Minkkinen respectfully requests entry of an
order modifying his conditions of release to permit his travel with his family to Punta Cana,
Dominican Republic during the week of March 27, 2025, through April 3, 2025, via Delta

Arrlines, as well as for access to his passport.

By:_/s/ Michael Edward Nogay
Michael Edward Nogay (WV ID 2744)
Counsel for Defendant Minkkinen

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CERTIFICATE OF SERVICE

I, Michael Edward Nogay, counsel for Defendant David Gerald Minkkinen, hereby
certify that on this12th day of February, 2025, I served a copy of DEFENDANT
MINKKINEN’S MOTION FOR PERMISSION TO ALLOW TRAVEL by filing the same

with the Court using the CM/ECF system.

By:___/s/ Michael Edward Nogay
Michael Edward Nogay (WV #2744)
Counsel for Defendant

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